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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
DAVID BAUER,
Plaintiff,
vs... Case No. 8:14-cv-03036-VMC-EAJ.

STELLAR RECOVERY, INC.,

Defendant.

SATISFACTION OF JUDGMENT
WHEREAS, a judgment was entered in the above action on the 19th day of May, 2015,
in favor of DAVID BAUER and against STELLAR RECOVERY, INC. in the amount of
$20,000.00, and said judgment having fully been paid, and it is certified that there are no
outstanding executions with any Sheriff or Marshall. .
THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged,
and the Clerk of Court is hereby authorized and directed to make an entry of the full and

complete satisfaction on the docket of said judgment.

Respectfully submitted this Z4 day of September 2015, by:

(Vey (tot

‘Christina M. Cowart

Florida Bar # 27644
SERAPH LEGAL, P.A.
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Tampa, FL 33605

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CCowart@SeraphLegal.com
Attorneys for Plaintiff
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STATE OF FLORIDA )
COUNTY OF HILLSBOROUGH )

The foregoing instrument was acknowledged before me on 24 Septembec O15”, by

 

CHRISTINA COWART of SERAPH LEGAL, P.A., as the Plaintiff's attorney in the above titled-

action, who is personally known to me or who produced EL Dri vers License. as

 

identification and whd did/Mdid not take an oath.

 

WITNESS my hand and official seal, on QY September QOIT,
A lex Bryce Pood
Notary Public, Stateoe f- loriden

My Commission expires:. § / [a/ 2614

 
